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15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    PLAINTIFF’S ADMINISTRATIVE
21                                                   MOTION TO CONSIDER WHETHER
                           v.                        ANOTHER PARTY’S MATERIAL
22
                                                     SHOULD BE SEALED PURSUANT TO
      APPLE INC.,                                    CIVIL LOCAL RULE 79-5
23

24                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
       Case 4:20-cv-05640-YGR           Document 1481         Filed 04/22/25      Page 2 of 3




1                   Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff Epic Games, Inc. (“Epic”)

2    submits this administrative motion to consider whether another party’s material should be sealed

3    with respect to its Epic’s Response to Apple’s Objections to Special Master Rulings on Apple

4    Inc.’s Productions of Re-Reviewed Documents, the Declaration of Yonatan Even (“Even

5    Declaration”) and Exhibit A, all dated April 22, 2025. The documents and portions of documents

6    Epic seeks to temporarily file under seal are listed below:

7
            Document                            Corresponding Page and Line Number(s)
8
            Exhibit A to the Even               Highlighted portions of the document.
9           Declaration

10                  Epic seeks leave to provisionally file the documents under seal because they

11   discuss materials that Apple has designated confidential under the protective order in this case.

12   See Local Rule 79-5(f). Epic reserves the right to oppose, under Rule 79-5(f)(4), any submission

13   Apple makes to support sealing under Rule 79-5(f)(3). Epic also hereby provides notice of

14   lodging to all parties and their counsel pursuant to Civil Local Rule 79-5(f).

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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                 1            CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
      Case 4:20-cv-05640-YGR      Document 1481      Filed 04/22/25     Page 3 of 3




1    Dated: April 22, 2025                  Respectfully submitted,
2
                                            By:   /s/ Yonatan Even
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S        2           CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
